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 1   JILBERT TAHMAZIAN, ESQ. NO. 143574
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 3
     Telephone No. (818) 242-8201
 4   Facsimile No. (818) 242-8246
 5   Attorneys for Defendant
     MANUK SHUBARALYAN
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                      )       Case No. CR S-05-0343 (FCD)
11                                                  )
                    Plaintiff,                      )       STIPULATION AND ORDER RE
12                                                  )       CONTINUANCE OF CHANGE OF PLEA
                                                    )       DATE
13                                                  )
                                                    )
14          v.                                      )       Status Conference
                                                    )       Date:               February 26, 2007
15                                                  )       Time:               9:30 A.M.
                                                    )       Judge:              Hon. Judge Frank D.
16                                                  )                           Damrell Jr.
     MANUK SHUBARALYAN, et a.,                      )
17                                                  )
                    Defendants.                     )
18                                                  )
19          TO THE UNITED STATES ATTORNEY, AND TO THE U.S. DISTRICT COURT:
20          Defendant, MANUK SHUBARALYAN, by and through his attorneys of record, the Law
21   Offices of Jilbert Tahmazian; defendant YURIK SHAKHBAZYAN, by and through his
22   attorneys Minassian & Bagdaian; defendant ROZA GASPARIAN, by and through her attorneys
23   of record Law Offices of Mark J. Werksman, and Plaintiff, United States of America, through its
24   attorney of record, Christine Watson from the United States Attorney’s Office for the Eastern
25   District of California, hereby agree, stipulate and request that the Court to continue the change of
26   plea date in this matter from February 26, 2007 to any day convenient to the Court within 60
27   days of the current hearing. The reason for the continuance is for purposes of allowing the
28   prosecution sufficient time to prepare the plea agreements and for the defendants to have

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 1   sufficient time to review them. The Parties further stipulate that:
 2          1.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161
 3                  et seq., within which the status conference must commence, the time period of
 4                  February 26, 2007 to April 30, 2007, inclusive, is deemed excludable pursuant to
 5                  18 U.S.C. §3161 et seq. 3161(h)(8)(A) & (B)(iv), Local Code T-4
 6
 7   Dated: February 14, 2007                        LAW OFFICES OF JILBERT TAHMAZIAN
 8
 9                                             By:     /s/ Jilbert Tahmazian
                                                     Jilbert Tahmazian, Esq.
10                                                   Attorney for Defendant,
                                                     MANUK SHUBARALYAN
11
     Dated: February 14, 2007                        MINASSIAN & BAGNDAIAN
12
13                                             By:     /s/ Fred G. Minassian
                                                     Fred G. Minassian
14                                                   Attorney for Defendant
                                                     YURIK SHAKHBAZYAN
15
     Dated: February 14, 2007                        LAW OFFICES OF MARK J. WERKSMAN
16
17                                             By:    /s/ Mark J. Werksman
                                                     Mark J. Werksman
18                                                   Attorney for Defendant
                                                     ROZA GASPARIAN
19
     Dated: February 14, 2007
20
                                               By: /s/ Steven Lapham
21                                                 Steven Lapham, Esq.
                                                   Assistant United States Attorney
22                                                 Attorneys for Plaintiff
                                                   United States of America
23
                                                     ORDER
24
            The above stipulation is adopted in full to and including the exclusion of time. The
25
     change of plea date in this matter is continued to April 30, 2007 at 10:00 a.m.
26
27   IT IS SO ORDERED
28                                                   _______________________________________
                                                     FRANK C. DAMRELL, JR.
                                                     UNITED STATES DISTRICT JUDGE
                                                       2
